 Case 8:19-cv-01212-FLA-JDE Document 101-2 Filed 07/26/22 Page 1 of 4 Page ID #:875




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13
                           UNITED STATES DISTRICT COURT
14

15                        CENTRAL DISTRICT OF CALIFORNIA

16                                          )
     PAVEL FUKS, an individual,             )   Case No.: 8:19-cv-1212- FLA (JDEx)
                                            )
17                                          )

18                  Plaintiff,
                                            )   PLAINTIFF PAVEL FUKS’
                                            )
                                            )   SETTLEMENT OF INTEREST
19   vs.                                    )   MEMORANDUM
                                            )
                                            )
20                                          )
     YURI VANETIK, an individual,           )
21                                          )

22               Defendant.
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           PLAINTIFF PAVEL FUKS’ SETTLEMENT OF INTEREST MEMORANDUM
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 1         Pursuant to Local Rule 58-7, Plaintiff Pavel Fuks hereby submits this
 2   Settlement of Interest Memorandum and states the following:
 3         1.     On July 19, 2022, the Court issued its Order Following Bench Trial,
 4   in which the Court (i) finds that Plaintiff Fuks succeeded claims sounding in
 5   contract and tort, specifically breach of contract and promissory fraud, (ii) finds
 6   that Plaintiff Fuks is the prevailing party, and (iii) awards Plaintiff Fuks the sum of
 7   $200,000, plus pre- and post-judgment interest. Dkt. No. 100 at pgs. 2, 17-18.
 8         2.     In its Order, the Court explained that: “[i]n diversity actions brought
 9   in federal court a prevailing plaintiff is entitled to pre-judgment interest at state law
10   rates while post-judgment interest is determined by federal law.” Dkt. No. 100 at p.
11   18, n. 11 (quoting In re Cardelucci, 285 F.3d 1231, 1235 (9th Cir. 2002)). The
12   Court, accordingly, instructed: “The proposed Judgment, therefore, should reflect
13   an award of pre-judgment interest under California law and post-judgment interest
14   under federal law.” Id.
15         3.     Under California law, the rate for pre-judgment interest on a contract
16   claim is ten percent (10%) per annum from the date of the breach. Cal. Civil Code
17   § 3289.
18                4.     With respect to Plaintiff’s breach of contract claim, the Court
19   found the following:
20                Defendant failed to provide a three-day itinerary for the
21                inauguration in January 2017, and did not provide
22                tickets to the presidential swearing-in ceremony or
23                numerous other events Defendant later confirmed were
24                part of the “VIP” package. See Ex. 1 at 23. The court,
25                therefore, finds in Plaintiff’s favor on his breach of
26                contract claim, and Plaintiff is entitled to recover
27                $200,000 in compensatory damages.
28   Dkt. No. 100 at pgs. 2, 17-18.
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            PLAINTIFF PAVEL FUKS’ SETTLEMENT OF INTEREST MEMORANDUM
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 1   Thus, here, the date of the breach is no later than January 20, 2017, the date of the
 2   United States presidential inauguration.
 3              5. Accordingly, Plaintiff should be awarded pre-judgment interest on the
 4   $200,000 in damages awarded on its breach of contract claim at the rate of ten
 5   percent (10%) per annum from January 20, 2017 through July 19, 2022, the date of
 6   the Court’s Order. As shown below, this amounts to $109,917.77.
 7
                 Principal (damages award)                               $200,000.00
 8
                 Annual interest (10% of principal)                       $20,000.00
 9
                 Daily interest (annual interest / 365 days)               $59.7945
10
                 # of Days from January 20, 2017
11                                                                           20061
                 to July 19, 2022
12               Total Pre-judgment interest                             $109,917.77
13

14              6. As for post-judgment interest, given the Order issued July 19, 2022
15   the applicable rate pursuant to 28 U.S.C. 1961(a) is 3.11%. See, e.g.
16   https://www.casb.uscourts.gov/post-judgment-interest-rates.
17              7. As shown below, at 3.11%, the daily post-judgment interest that
18   accrues on the sum of the $200,000 in damages awarded and the $109,917.77 in
19   pre-judgment interest awarded is $26.407.
20               Principal (damages award + pre-judgment
                                                                         $309,917.77
                 interest)
21
                 Annual interest (3.11% of the principal)                  $9,638.44
22
                 Daily interest (annual interest / 365 days)                $26.407
23

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27   1
      This is the sum of the 345 days remaining in 2017 after the breach; 365 days for each of 2018,
28   2019, and 2021; 366 days for 2020 (leap year); and 200 days in 2022 (through the July 19, 2022)
     date of the Order.
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              PLAINTIFF PAVEL FUKS’ SETTLEMENT OF INTEREST MEMORANDUM
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 1   DATED: July 26, 2022              ASHBY LAW FIRM P.C.
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          PLAINTIFF PAVEL FUKS’ SETTLEMENT OF INTEREST MEMORANDUM
